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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             OCALA DIVISION

 CHERYL WEIMAR,

       Plaintiff,

 v.                                            CASE NO.: 5:19-cv-548-CEM-PRL

 THE FLORIDA DEPARTMENT OF
 CORRECTIONS, KEITH TURNER,
 and RYAN DIONNE,

      Defendants.
 ________________________________/

             PLAINTIFF’S MOTION FOR PROTECTIVE ORDER

       Plaintiff, Cheryl Weimar, by and through the undersigned counsel, and

 pursuant to Rule 26(c) of the Federal Rules of Civil Procedure and Rule 3.01 of the

 Local Rules of the Middle District of Florida, hereby moves for a protective order

 forbidding Defendants from taking the deposition of non-parties Darlene Monk and

 Karl Weimar, showing that such witnesses have no personal knowledge that is or

 could be relevant to the claims and/or defenses at-issue in this action as framed by

 the Parties at this point, that any discovery (including by way of deposition)

 inquiring into such individuals’ knowledge is not reasonably calculated to lead to

 the discovery of admissible evidence concerning the claims and/or defenses at-issue

 in this action, and accordingly, that any such discovery is sought solely for purposes
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 of harassment, oppression, undue burden, and/or unnecessary delay or expense, as

 follows:

 I.    INTRODUCTION

       This is a civil rights action for damages. Plaintiff has sued Defendants for

 deliberately depriving her of her rights under the United States Constitution.

 Specifically, Plaintiff asserts claims against Defendants Turner and Dionne for

 intentionally using excessive force in violation of the Eighth Amendment to the

 United States Constitution (Count I) and Defendant FDC for discrimination on the

 basis of disability in violation of the Title II of the Americans with Disabilities Act

 (“ADA”) (Count II) and Section 504 of the Rehabilitation Act (“RA”) (Count III).

       Plaintiff has been incarcerated in the custody of FDC since January 2016. She

 has a history of physical, mental, and intellectual disabilities. But in particular,

 Plaintiff has a history of major depressive disorder (“MDD”), and was diagnosed

 with same by FDC staff at or around the time of her initial health screening in 2016.

 Throughout her incarceration, Plaintiff was regularly prescribed medications for her

 MDD and routinely seen and monitored by FDC’s mental health staff.

       In order to recover compensatory damages in connection with her ADA/RA

 claims, Plaintiff must establish she is a qualified individual with a disability, who

 was excluded from participation in, denied the benefits of, or otherwise subject to




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 discrimination, by reason of her disability. 1 Partial summary judgment has already

 been decided and granted by this Court, in Plaintiff’s favor, as to the issue of her

 having a “disability” under the ADA and RA. See ECF No. 136.

       Defendants now seek to take the deposition of her husband (Karl Weimar),

 and her religious and spiritual advisor during the time of her incarceration (Darlene

 Monk).2 However, it is beyond dispute that (1) Karl Weimar has no personal

 knowledge of any facts relating to any claim or defense at-issue in this case (i.e.,

 knowledge other than that relating to Plaintiff’s disability, which issue has already

 been conclusively decided and foreclosed by this Court); and (2) Darlene Monk

 likewise has no personal knowledge of any facts relating specifically to any claim or

 defense at-issue in this case outside of her disability determination, which Defendant

 FDC has itself expressly asserted in this action. Accordingly, the depositions of these

 putative witnesses are unnecessary, improper, and beyond the scope of permissible

 discovery as contemplated by the Federal Rules of Civil Procedure—not to mention,

 harassing, oppressive, unduly burdensome, and/or unnecessarily dilatory or




 1
   See Owens v. Sec’y, Fla. Dep’t of Corr., 602 F. App’x 475, 477 (11th Cir. 2015)
 (quoting Bircoll v. Miami-Dade Cty., 480 F.3d 1072, 1083 (11th Cir. 2007)).
 2
   Counsel for Defendant FDC has represented to Plaintiff’s counsel that FDC will
 seek and file notices to depose Darlene Monk and Karl Weimar, and to that end has
 requested that Plaintiff hold open dates of July 7 and July 27, 2020, respectively, for
 deposition of these putative deponents.

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 expensive—and thus, a protective order forbidding Defendants from taking these

 depositions is warranted, just, and proper.3

 II.   FACTUAL BACKGROUND

       Plaintiff is an inmate incarcerated in Defendant FDC’s prison system, and has

 been incarcerated in FDC custody, continuously and without any interruption, since

 January 21, 2016. See, e.g., ECF No. 46, at ¶¶ 6, 10, 11; ECF No. 80-1 at FDC 03.

 When Plaintiff entered FDC’s custody, she underwent an initial healthcare screening

 and was subsequently diagnosed with major depressive disorder (“MDD”) by FDC

 staff. See ECF No. 80-1, at FDC 013. Plaintiff was regularly prescribed medications

 for her MDD, and she was routinely monitored by FDC’s mental health staff at every

 facility she was housed, including Lowell Correctional Institution (“Lowell CI”).

 See, e.g., ECF Nos. 80-5 at FDC 0462 to 80-6 at FDC 0610; ECF Nos. 80-8 at FDC

 0799 to 80-10 at FDC 0958. Indeed, Plaintiff’s diagnosis with and recorded history

 of MDD is well-documented within her FDC medical records. See, e.g., id.; see also

 ECF No. 80-1 at FDC 013. In addition, and also when Plaintiff entered FDC, she

 was not a quadriplegic and had full use of her extremities, aside from a bad back and

 hip, which regularly would cause her to walk with a limp. See id. at FDC 03-012;

 see also ECF No. 80-13 at ¶ 4 (Sworn Statement of Jessica Saleman).



 3
  Plaintiff’s counsel has conferred with counsel for Defendant FDC regarding the
 putative depositions at-issue, and explained the basis for this Motion, to no avail.

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       On August 21, 2019, Plaintiff was housed at the Lowell Work Camp. See ECF

 No. 80-14 at 7 (Lowell Work Camp Inmate List on August 21, 2019). Plaintiff’s

 work assignment was “houseman,” which required her to clean the bathrooms at the

 Work Camp, among other duties. See id.; ECF No. 80-15 at ¶ 3 (Sworn Statement

 of Cheryl Weimar); see also ECF No. 80-13 at ¶ 6. On August 21, 2019, Plaintiff

 was having hip and back problems and informed FDC staff that she was unable to

 continue cleaning the bathrooms. ECF No. 80-15 at ¶ 3. FDC staff became

 confrontational with Plaintiff after she stated that she could not clean the bathrooms,

 causing Plaintiff to declare a medical emergency. Id.; see also ECF No. 80-13 at ¶

 7. In response to Plaintiff declaring a medical emergency, Defendant Turner4 stated

 to Defendant Ryan Dionne (“Dionne”)—“Let’s go take care of this”—and the two

 officers went to the area of the Lowell Work Camp where Plaintiff was reportedly

 located. ECF No. 80-13 at ¶ 8. Minutes later, Plaintiff declared a psychological

 emergency. See ECF No. 80-13 at ¶ 9. Plaintiff has a known, and well-documented,

 history of mental disorders, including major depressive disorder, severe anxiety, and

 bipolar disorder. See ECF Nos. 80-1 at FDC 013; 80-8 at FDC 0799-0835; 80-9 at

 FDC 0836-0928; 80-10 at FDC 0929-0958; see also ECF No. 80-16 (Sworn

 Statement of Joyce Laberta).



 4
  Defendant Turner was employed as a lieutenant with Defendant FDC on August
 21, 2019.

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       In response to Plaintiff declaring a medical and psychological emergency,

 Defendant Turner and Defendant Dionne walked Plaintiff out of the A-Dorm at the

 Work Camp. See ECF No. 80-17 at ¶ 3 (Affidavit of Victoria Scifo). Plaintiff was

 handcuffed from behind. Id; see also ECF No. 80-18 at ¶ 7 (Affidavit of Brittany

 Flutie Davis). Plaintiff began stating, “Ow that hurts” and “Please, that hurts.” ECF

 No. 80-17 at ¶ 4. Plaintiff was completely compliant while cuffed, not kicking or

 acting out. Id. at ¶ 4. Defendant Turner threw Plaintiff to the ground and, while

 Defendant Dionne was holding her down, began kneeing Plaintiff in the neck and

 back, approximately three times. Id. at ¶ 5; see also ECF No. 80-19 at ¶ 4 (Affidavit

 of Amanda Edwards). Plaintiff became soundless and motionless in response. ECF

 No. 80-17 at ¶ 6. Plaintiff’s head hit the ground before her body when Defendant

 Turner threw her to the ground. Id. Plaintiff was believed to be dead. Id. The

 repeated, forceful blows apparently knocked her unconscious. See ECF No. 80-19 at

 ¶ 6. Defendant Turner and Defendant Dionne then dragged the motionless body of

 Plaintiff to the Work Camp medical building across a big green field and pavilion,

 allowing her head to bobble like a rag doll with her eyes rolled back into her head.

 ECF Nos. 80-17 at ¶ 7; 80-13 at ¶ 10; 80-18 at ¶ 2; 80-19 at ¶ 6. Defendant Dionne

 later stated that he “beat [Plaintiff] stupid” because she couldn’t clean a toilet. ECF

 No. 80-17 at ¶ 12.




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        As a result of the brutal beating by Defendants Turner and Dionne, Plaintiff

 suffered a broken back and neck and is now permanently quadriplegic. See ECF No.

 80-1 at FDC 019.

 III.   LEGAL ARGUMENT

        A.    Standard for Protective Order

        “Parties may obtain discovery regarding any non-privileged matter that is

 relevant to any party’s claim or defense,” and information is discoverable as long as

 it “appears reasonably calculated to lead to the discovery of admissible evidence.”

 Fed. R. Civ. P. 26(b)(1). However, “[a] party or any person from whom discovery is

 sought may move for a protective order . . . . The court may, for good cause, issue

 an order to protect a party or person from annoyance, embarrassment, oppression, or

 undue burden or expense.” Fed. R. Civ. P. 26(c). The Court may limit otherwise

 reasonable discovery requests where “the burden or expense of the proposed

 discovery outweighs its likely benefit.” Fed. R. Civ. P. 26(b)(2). “Rule 26(c) gives

 the district court discretionary power to fashion a protective order.” Farnsworth v.

 Proctor & Gamble, Co., 758 F.2d 1545, 1548 (11th Cir. 1985).

        B.    Deposition of Darlene Monk is Unwarranted and Improper

        Defendants now seek to depose Darlene Monk, the religious and spiritual

 advisor of Plaintiff during her incarceration, who is notably not a party to this action.

 However, it is abundantly clear, and furthermore beyond dispute, that any potential


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 discovery (including by deposition) from Ms. Monk is not relevant to any party’s

 claim or defense in this action, and that information from Ms. Monk is accordingly

 not discoverable because it does not appear (and, in fact, is not) reasonably

 calculated to lead to the discovery of admissible evidence in this action.5 See Fed.

 R. Civ. P. 26(b)(1).

       Defendant has already admitted as much in this action. In Plaintiff’s First

 Request for Production to Defendant FDC, Plaintiff sought from FDC “[a]ll

 Documents and Communications which mention or discuss Darlene Monk from

 January 1, 2018, through the present date.” Critically, Defendant FDC responded by

 objecting to production of such documents and information, on the following basis:

       . . . Defendant objects to request number 52 on the basis of relevance
       and overbreadth. The request seeks all documents and communications
       which mention or discuss the Plaintiff’s friend, Darlene Monk, for a
       two year period. Ms. Monk is not a possible witness to the events
       underlying the Plaintiffs allegations and the communications or
       documents mentioning Ms. Monk can have no bearing on either
       party’s claims or defenses. 6

 These concessions of Defendant FDC—namely and critically, that Ms. Monk is not

 a possible witness to the events underlying Plaintiff’s allegations as she was not


 5
   Certainly Ms. Monk knows about Plaintiff’s mental health problems and the things
 in her life that caused or contributed to those disabilities, but again, the Court has
 already determined that Ms. Weimar had a disability prior to the incident. So, that
 leaves us with qualified individual and the third element of the ADA claim of which
 Ms. Monk has no personal knowledge and was not an eyewitness.
 6
   A copy of Defendant FDC’s Answers to Plaintiff’s First Request for Production to
 Defendant is attached hereto as Exhibit 1. See id. at p. 18, ¶ 52 (emphasis added).

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 incarcerated in Lowell Work Camp, and has (and can have) no bearing on either

 party’s claims or defenses—remains true in this litigation. Thus, by Defendant’s own

 admission, discovery (including by deposition) from Ms. Monk is impertinent,

 unnecessary, and inappropriate, as it relates to claims an defenses at issue in this

 matter and a protective order forbidding Defendants from taking the deposition of

 non-party Darlene Monk is in order.

       C.     Deposition of Karl Weimar is Unwarranted and Improper

       Additionally, Defendants now seek to depose Karl Weimar, the husband of

 Plaintiff, who also is notably not a party to this action. 7 However, it is likewise

 abundantly clear, and furthermore beyond dispute, that any potential discovery

 (including by deposition) from Mr. Weimar is not relevant to any party’s claim or

 defense in this action, and that information from Mr. Weimar is accordingly not

 discoverable because it does not appear (and, in fact, is not) reasonably calculated

 to lead to the discovery of admissible evidence in this action. See Fed. R. Civ. P.

 26(b)(1).

       To the extent Mr. Weimar ever had any knowledge or information which

 could even conceivably have been relevant to the claims or defenses, or reasonably

 calculated to lead to the discovery of admissible evidence, in this action, any such


 7
  While Karl Weimar was originally a party to this case, and thus listed in Plaintiff’s
 Rule 26 disclosures, he is no longer a party and is neither raising any claims or
 seeking any damages against Defendants in, or in connection with, this action.

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  knowledge or information is plainly no longer relevant in light of the Court’s grant

  of partial summary judgment to Plaintiff on the issue of her having a disability. See

  ECF No. 136. Indeed, Mr. Weimar is not a witness to any relevant facts, as the only

  knowledge or information Mr. Weimar may possess relating in any way to this action

  would regard Plaintiff’s disability, however, that is no longer at-issue in this case.

  Mr. Weimar necessarily would have no information as to whether Plaintiff was a

  “qualified individual,” whether Plaintiff was excluded from participation in or

  denied the benefits of Defendant FDC’s services, programs, or activities, or was

  otherwise discriminated against by FDC, and/or whether Plaintiff’s exclusion, denial

  of benefit, or discrimination was by reason of the her disability—the remaining

  issues in this case under Plaintiff’s ADA and RA claims. 8 Mr. Weimar was not

  present on August 21, 2019, indeed, he was not incarcerated at Lowell Work Camp,

  a women’s work camp.




  8
    In addition, as Rule 26(b)(1) makes clear, “[p]arties may obtain discovery
  regarding any non-privileged matter that is relevant to any party’s claim or
  defense,” however, any communications between Plaintiff and Mr. Weimar would
  be protected against disclosure pursuant to spousal/marital privilege. See United
  States v. Mendoza, 574 F.2d 1373, 1379 (5th Cir. 1978) (marital privilege “bars one
  spouse from testifying adversely to the other [and] . . . from testifying as to the
  confidential communications of the other”) (citing United States v. Cameron, 556
  F.2d 752, 755 (5th Cir. 1977)). The Eleventh Circuit adopted as binding precedent
  decisions of the Fifth Circuit rendered prior to October 1, 1981. See Bonner v. City
  of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc).

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        Thus, discovery (including by deposition) from Mr. Weimar is similarly

  impertinent, unnecessary, and inappropriate, and a protective order forbidding

  Defendants from taking the deposition of non-party Karl Weimar is in order.

  IV.   CONCLUSION

        WHEREFORE, for the foregoing reasons, Plaintiff, Cheryl Weimar,

  respectfully requests that this Court GRANT this Motion for Protective Order, and

  accordingly enter a Protective Order forbidding Defendants from taking the

  deposition of non-parties Darlene Monk and Karl Weimar.

        Dated this 9th day of June, 2020.

                                        Respectfully submitted,

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                      LOCAL RULE 3.01(g) CERTIFICATE

        Pursuant to Rule 3.01(g) of the Local Rules of the Middle District of Florida,

  the undersigned has conferred with counsel for Defendant Florida Department of

  Corrections via email and phone regarding this Motion, and reports that Defendant

  Florida Department of Corrections objects to the relief requested herein.

                                        /s/ Ryan J. Andrews
                                        RYAN J. ANDREWS




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                           CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been

  served by electronic service on this 9th day of June, 2020, to:

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